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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK



     MARTÍN JONATHAN BATALLA VIDAL, et al.,

                          Plaintiffs,

                          v.

     ALEJANDRO MAYORKAS, in his official      Case No. 1:16-cv-04756 (NGG) (VMS)
     capacity as Secretary of Homeland
     Security, et al.,                        May 20, 2022

                          Defendants.




                  NEW YORK PLAINTIFFS’ SUBMISSION IN SUPPORT OF
                BATALLA VIDAL PLAINTIFFS’ MOTION FOR MODIFICATION




                                                  ORAL ARGUMENT REQUESTED
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                                  PRELIMINARY STATEMENT

          The States of New York, Massachusetts, Washington, Colorado, Connecticut, Delaware,

   Hawaii, Illinois, Iowa, New Mexico, North Carolina, Oregon, Pennsylvania, Rhode Island, and

   Vermont, and the District of Columbia (collectively “the New York plaintiffs”) submit this brief

   regarding the Motion for Modification filed by the plaintiffs in Batalla Vidal v. Mayorkas,

   No. 16-cv-4756 on April 25, 2022. The Batalla Vidal plaintiffs request that the Court modify its

   December 4, 2020, order to provide relief short of adjudication to approximately 80,000 first-time

   Deferred Action for Childhood Arrivals (DACA) applicants who submitted their applications

   following the December order (“First-Time Applicants”) and to adjudicate the applications of

   individuals whose DACA status expired more than one year prior to the submission of their renewal

   application (“Extended Renewal Applicants”). See Pls.’ Mem. of Law In Supp. of Mot. for

   Modification (“Pls.’ Mem.”) at 1–2, 9–20 (Apr. 25, 2022), ECF No. ____.

          The New York plaintiffs have a profound interest in preserving and strengthening DACA.

   More than 130,000 DACA recipients currently live in our States, where they are vital members of

   the community and workforce. Since 2012, DACA had provided access to work authorization and

   protection from removal to approximately 825,000 individuals across the country, including

   valued residents of our States. 1 DACA recipients have grown up in this country, enrolled in degree

   programs, embarked on careers, purchased homes, and started their own families, all in reliance

   on the policy. Their success has rippled through our States: DACA recipients bolster our tax bases

   and economies, work in our essential industries, and enrich the student bodies and faculties of our




          1
            See Comment Letter from Att’ys Gen. 1 (Nov. 19, 2021) (Deferred Action for Childhood
   Arrivals, 86 Fed. Reg. 53,736), https://ag.ny.gov/sites/default/files/daca_nprm_multistate_
   comment_11.19.21_final.pdf.
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   public universities. The New York plaintiffs thus have a fundamental interest in ensuring that our

   DACA-eligible residents and recipients are given an opportunity to achieve their full potential,

   and have worked for years to protect and defend this important policy. 2

          This Court can—and should—modify its December 4, 2020, order to grant relief that

   effectuates the intent of the order, and can do so without creating a conflict with the July 16, 2021,

   injunction entered in Texas v. United States, No. 18-cv-68 (ASH) (S.D. Tex. July 16, 2021), ECF

   No. 576 (“Texas Inj.”). 3 To that end, this Court should clarify the provision of its order that the

   U.S. Department of Homeland Security (DHS) “accept[] first-time requests for consideration of

   deferred action under DACA” (Order at 4, (Dec. 4, 2020), ECF No. 354)—a step that the Texas

   injunction permits despite enjoining DHS “from granting DACA status for any new applicants”

   (Texas Inj. at 4). For example, this Court may order U.S. Citizenship and Immigration Services

   (USCIS) to schedule biometric appointments and process biometric information for First-Time

   Applicants—steps that appear to fall squarely within the meaning of “accepting” a DACA appli-

   cation without granting relief on that application. With respect to the remaining relief sought by

   the Batalla Vidal plaintiffs, the New York plaintiffs preliminarily support the relief requests, and,

   at this stage, seek more information from DHS about their legal and operational requirements in



          2
            See, e.g., id. (comment letter from the New York plaintiffs and other States in support of
   the rulemaking to fortify DACA); Br. for Amici Curiae States in Supp. of Appellants for Reversal,
   Texas v. United States, No. 21-40680 (5th Cir. Dec. 15, 2021), ECF No. 00516133132 (amicus
   brief by many of the New York plaintiffs and other States in support of reversing the Texas
   injunction).
          3
             As many of the New York plaintiffs explained in an amicus brief to the U.S. Court of
   Appeals for the Fifth Circuit, we strongly disagree with the Texas injunction on the merits and
   with respect to its scope. See Texas Br. for Amici Curiae States at 1–4. The New York plaintiffs
   believe that the Fifth Circuit is the proper forum to litigate challenges to the propriety and scope
   of the Texas injunction. Briefing in the Texas appeal was completed on March 30, 2022, and the
   Fifth Circuit proposed calendaring oral argument the week of July 4, 2022. See Docket, Texas, No.
   21-40680 (5th Cir.).
                                                     2
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   order to ensure effective implementation and an absence of conflict with the Texas injunction. To

   that end, the New York plaintiffs strongly urge this Court to order defendants (including senior

   officials with decision-making authority) to participate in mediation, as the Batalla Vidal plaintiffs

   have suggested, and explain what additional processing steps can be performed while the legality

   of the Texas injunction is being litigated; what interim relief DHS has the authority to issue during

   the pendency of the Texas appeal; and why, contrary to its previous practice, USCIS is not treating

   Extended Renewal Applicants like other renewal applicants whose requests are being processed

   without running afoul of the Texas injunction.


                                            BACKGROUND

          On June 18, 2020, the Supreme Court of the United States, in Department of Homeland

   Security v. Regents of the University of California, reviewed decisions by this Court and other

   district courts, affirmed that the September 5, 2017, rescission of DACA violated the Administrative

   Procedure Act, remanded to DHS to “consider the problem anew,” and remanded this case for

   further proceedings. 140 S. Ct. 1891, 1910–16 (2020). On the heels of the Supreme Court’s decision,

   the (purported) Acting Secretary of Homeland Security Chad F. Wolf issued a memorandum that

   effectively suspended DACA pending DHS’s review on remand. See Recons. of the June 15, 2012

   Mem., Batalla Vidal (July 28, 2020), ECF No. 297-1.

          The Batalla Vidal and the New York plaintiffs filed motions for summary judgment

   challenging the legality of the Wolf memorandum. This Court granted the motions on November

   14, 2020, finding that Mr. Wolf’s appointment was invalid, and he therefore lacked authority to

   issue the memorandum. Mem. & Order, Batalla Vidal (Nov. 14, 2020), ECF No. 342. On December

   4, 2020, following additional briefing on remedies, this Court vacated the Wolf memorandum and

   ordered defendants to “accept[] first-time requests for consideration of deferred action under DACA,

                                                     3
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   renewal requests, and advance parole requests, based on the terms of the DACA program prior to

   September 5, 2017, and in accordance with this court’s Memorandum & Order of November 14,

   2020.” Order at 4, ECF No. 354. In conjunction with this relief, the Court required defendants to

   report the number of first-time DACA applications, renewal requests, and advance parole requests

   that were received, adjudicated, approved, denied, and rejected from November 14 until December

   31, 2020. Id. at 4–5. And the Court specifically retained jurisdiction over the matter for purposes

   of “construction, modification, and enforcement” of the order. Id. at 5–6.

          Approximately seven months later, on July 16, 2021, the Texas federal district court

   presiding over a long-running lawsuit filed by Texas and other States challenging the validity of

   the DACA program issued an order and permanent injunction (i) vacating the 2012 memorandum

   establishing DACA and (ii) barring DHS from granting any first-time DACA applications. See

   Texas Inj.at 3–4. The Texas injunction provides that “DHS may continue to accept [first-time]

   applications as it has been ordered to do by” this Court and stays the effect of the injunction as to

   “DACA recipients who obtained that status on or before the date of this injunction and DACA

   renewal applications for these existing recipients.” Id. at 4.

          The Batalla Vidal plaintiffs allege that, following entry of the Texas injunction, USCIS

   stopped processing first-time applications as well as the applications of Extended Renewal Appli-

   cants, even though the latter group of applicants previously had DACA status. Pls.’ Mem. at 1–2,

   6. The Batalla Vidal plaintiffs further allege that USCIS cancelled previously scheduled biometrics

   appointments for First-Time Applicants. Id. at 1, 13. This Court granted the Batalla Vidal plaintiffs

   leave to move to clarify the December 4, 2020, order, and granted the New York plaintiffs leave to

   file a submission regarding the motion. Minute Entry (Apr. 4, 2022); Order (Apr. 12, 2022), ECF

   No. 381. This brief is that submission.


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                                              ARGUMENT

          As the Batalla Vidal plaintiffs correctly observe, courts possess the power to clarify and

   modify the terms of an injunctive decree in order to ensure that the decree accomplishes its

   intended result. See Pls.’ Mem. at 9–11. 4 “The source of the power to modify is of course the fact

   that an injunction often requires continuing supervision by the issuing court and always a

   continuing willingness to apply its powers and processes on behalf of the party who obtained that

   equitable relief.” System Fed’n No. 91 v. Wright, 364 U.S. 642, 647 (1961). Here, the Court

   expressly retained jurisdiction over the December 4, 2020, order for “purposes of construction,

   modification, and enforcement.” Order at 5–6, ECF No. 354. And the exercise of the Court’s

   equitable powers to clarify or to modify the order is particularly warranted now for two reasons.

          First, at the time the Court issued its injunction requiring defendants to “accept[] first-time

   requests for consideration,” id. at 4, there was no obstacle to DHS accepting and adjudicating such

   DACA applications. Accordingly, the parties proceeded with the understanding that USCIS would

   process the applications that the Court ordered the agency to “accept[],” even though the order

   itself did not expressly require such action. See id. The Court, too, appeared to share in this under-

   standing: the December 4, 2020, order required defendants to report “the number of first-time DACA

   applications received, adjudicated, approved, denied, and rejected” in the first six weeks after the

   Court reopened DACA to first-time applicants. Id. at 5 (emphasis added). However, in response

   to the Texas injunction, defendants apparently ceased not only to adjudicate or grant first-time

   DACA applications, but even to process first-time applications, going as far as to cancel previously




          4
            See also 11A Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. § 2961 (3d ed.
   Westlaw Apr. 2022 Update) (“The continuing responsibility of the issuing court over its decrees
   is a necessary concomitant of the prospective operation of equitable relief . . . .”).
                                                     5
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   scheduled biometrics appointments (see Pls.’ Mem. at 1, 13). To effectuate the intended purpose

   of its December 4, 2020, order, the Court should clarify that its decree that defendants “accept[]

   first-time requests for consideration” includes the processing of these applications and the Court

   should order the defendants to carry out any intermediate processing steps that do not conflict with

   the Texas injunction. See infra at 6–7.

          Second, the equities weigh sharply in favor of modifying the December 4, 2020, order to

   afford some form of relief to the 80,000 individuals who submitted first-time DACA applications

   in reliance on the Court’s order and for whom the grant of DACA is currently forestalled. This is

   especially the case given that these first-time applications may very well have been granted had

   the federal government acted more expeditiously in adjudicating applications prior to the issuance

   of the Texas injunction. See Pls.’ Mem. at 5 (noting that USCIS adjudicated only 1,663 of 50,000

   applications in the first four months following the December 4, 2020, order).

          With respect to the specific forms of relief sought by the Batalla Vidal plaintiffs, there are

   at least two intermediate processing steps described in the Batalla Vidal plaintiffs’ motion (Pls.’

   Mem. at 4) which do not appear to conflict with the Texas injunction that precludes defendants from

   “granting” first-time applications (Texas Inj. at 4): taking and processing applicants’ biometrics.

   DHS is independently authorized by regulation to “require any applicant, petitioner, sponsor,

   beneficiary, or individual filing a benefit request . . . to appear for an interview and/or biometric

   collection.” 8 C.F.R. § 103.2(b)(9) (emphasis added). 5 These steps are clerical actions that provide




          5
              See also USCIS, U.S. Dep’t of Homeland Sec., Preparing for Your Biometric
   Services Appointment (last updated July 28, 2021), https://www.uscis.gov/forms/filing-guidance/
   preparing-for-your-biometric-services-appointment (stating that the agency has “the general authority
   to require and collect biometrics from any applicant” for “any immigration and naturalization
   benefit”).
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    data about the applicant but do not determine an application’s merit and cannot plausibly be

    construed as adjudication—much less a grant—of first-time DACA applications. Accordingly, this

    Court should order USCIS to schedule biometric appointments for the subclass of 80,000 First

    Time Applicants and to process their biometric information. Doing so appropriately gives effect

    to the Court’s decree that DHS “accept[] first-time requests for consideration” (Order at 4, ECF

    No. 354 (emphasis added)), while respecting the injunction against granting first-time DACA

    applications that is currently in place.

            There may very well be other intermediate processing steps that are likewise consistent

    with both orders. But absent more concrete information from DHS on what the processing of

    DACA applications entails, the New York plaintiffs have incomplete information about what those

    processing steps can and should be. See Pls.’ Mem. at 3–4 (outlining the Batalla Vidal plaintiffs’

    best “understand[ing]” of the intermediate processing steps). The New York plaintiffs thus urge the

    Court to grant the Batalla Vidal plaintiffs’ request for mediation (Pls.’ Mem. at 16 n.18) and order

    the parties to explore what additional intermediate processing steps DHS can perform while the

    Texas injunction is being litigated. Specifically, the Court should order defendants to (i) explain

    what specific, interim steps occur between “accepting” a first-time DACA application and “granting”

    it; and (ii) if defendants take the position that DHS is prohibited from engaging in any of the

    enumerated intermediate processing steps, to justify their position with citations to legal authority.6




            6
             If the Court orders mediation, the New York plaintiffs respectfully request to participate
    in the mediation process. To ensure that the parties’ discussions are fruitful, we further request that
    the Court order either the named defendants or other senior officials with decision-making authority
    on the issues presented in the Batalla Vidal plaintiffs’ motion to appear from the Department of
    Justice and DHS (including USCIS).

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           The Court likewise should order defendants to explain in mediation any categories of interim

    relief that DHS has the authority to provide without running afoul of the Texas injunction. As the

    Batalla Vidal plaintiffs observe (id. at 14–16), USCIS has—in other immigration contexts—

    invoked the agency’s “inherent authority” to grant interim relief where the processing of

    applications for immigration relief is delayed. For example, USCIS recently updated its policy

    manual “to consider deferred action (and related employment authorization) for noncitizens

    classified as Special Immigrant Juveniles (SIJs) who are ineligible to apply for adjustment of status

    to lawful permanent resident (LPR) status solely due to visa unavailability.” 7 In explaining the basis

    for this new guidance, USCIS emphasized that interim relief for SIJs who are awaiting adjustment

    of status is warranted because the process is “often delayed for years, leaving this especially

    vulnerable population in limbo.” 8

           Critically, USCIS made clear that the grant of this interim relief constituted an exercise of

    DHS’s “inherent authority” to provide interim relief without rulemaking. 9 The New York plaintiffs

    do not know whether, or why, defendants would understand their “inherent authority” with respect

    to the DACA-eligible population to be limited in a way that prevents the defendants from providing

    the same type of interim relief here, as requested by the Batalla Vidal plaintiffs. 10 Accordingly,

    this Court should order defendants to explain in mediation whether they have “inherent authority”




           7
              USCIS, U.S. Dep’t of Homeland Sec., Policy Alert, Special Immigrant Juvenile
    Classification and Deferred Action 1 (Mar. 7, 2022), https://www.uscis.gov/sites/default/files/
    document/policy-manual-updates/20220307-SIJAndDeferredAction.pdf.
           8
               Id.
           9
               Final Rule: Special Immigrant Juvenile Petitions, 87 Fed. Reg. 13,066, 13,095 (Mar. 8, 2022).
           10  As noted above (at 6–7), defendants need not rely on their “inherent authority” to
    perform the intermediate processing steps of scheduling biometric appointments and processing
    biometric information because they are authorized to do so by regulation.
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    to provide any interim relief (whether requested by the Batalla Vidal plaintiffs or not) to the 80,000

    class members who submitted first-time DACA applications at a time when DACA was fully

    operational and whose applications cannot be adjudicated for reasons that have nothing to do with

    actions taken by the applicants.

           Finally, the New York plaintiffs respectfully request that the Court order defendants to

    address in mediation why USCIS is refusing to adjudicate extended-renewal applications, notwith-

    standing the fact that the Texas injunction permits the adjudication of DACA renewal applications.

    See Texas Inj. at 3–4. Specifically, USCIS appears to be treating extended-renewal applications as

    first-time applications that may not be granted under the Texas injunction, 11 but USCIS previously

    distinguished between the two categories, including during earlier stages of this litigation. For

    example, in a February 13, 2018, order, this Court preliminarily enjoined defendants’ rescission

    of DACA, ordered defendants to maintain DACA as it existed on September 4, 2017, and specified

    that, while defendants “need not consider new applications by individuals who had never before

    obtained DACA benefits,” defendants “may adjudicate DACA renewal requests on a case-by-case,

    individualized basis.” See Am. Mem. & Order & Prelim. Inj. at 2, 53, Batalla Vidal (Feb. 13, 2018),

    ECF No. 209. In response to this order, USCIS, which was “not accepting requests from individuals

    who have never before been granted deferred action under DACA,” announced that it would

    “resume[] accepting requests to renew a grant of deferred action under DACA,” including allowing




           11
               See USCIS, U.S. Dep’t of Homeland Sec., Consideration of Deferred Action for
    Childhood Arrivals (DACA), Frequently Asked Questions: Renewals at No. 21 (last updated Aug.
    31, 2021), https://www.uscis.gov/humanitarian/consideration-of-deferred-action-for-childhood-
    arrivals-daca/frequently-asked-questions (explaining that DACA requests submitted more than
    one year since the last grant of DACA expired will be considered “initial” requests that will not be
    processed beyond acceptance, in compliance with the Texas injunction).
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    Extended Renewal Applicants to “file a new initial DACA request.” 12 Moreover, USCIS instructed

    these Extended Renewal Applicants, like other applicants seeking renewal within the one-year

    filing window, to list the date their prior DACA expired on Part 1 of the Form I-821D 13 to “assist

    USCIS with reviewing [their] DACA request for acceptance.” 14

           In light of the above, it appears that at least for some period following this Court’s February

    13, 2018, order, USCIS was adjudicating applications from Extended Renewal Applicants even

    though the agency was not adjudicating first-time, initial applications. The agency has taken a

    different course here but has not provided any reasons. 15 The Court should order defendants to

    explain why USCIS is no longer treating Extended Renewal Applicants like other renewal

    applicants, and to explain whether USCIS has authority to provide any relief for this category of

    applicants consistent with the terms of the Texas injunction.




           12
              USCIS, U.S. Dep’t of Homeland Sec., Deferred Action for Childhood Arrivals: Response
    to January 2018 Preliminary Injunction (last updated Aug. 24, 2020), https://www.uscis.gov/
    archive/deferred-action-for-childhood-arrivals-response-to-january-2018-preliminary-injunction
    (explaining that “[d]ue to federal court orders on Jan. 9, 2018 and Feb. 13, 2018, USCIS has resumed
    accepting requests to renew a grant of deferred action under DACA” and describing the treatment
    of renewal requests filed within and outside of the one-year filing window).
           13
             See USCIS, U.S. Dep’t of Homeland Sec., Form I-821D, Consideration of Deferred Action
    for Childhood Arrivals, https://www.uscis.gov/sites/default/files/document/forms/i-821d.pdf.
           14
             USCIS, U.S. Dep’t of Homeland Sec., Deferred Action for Childhood Arrivals: Response
    to January 2018 Preliminary Injunction, supra.
           15
               As further evidence that USCIS previously recognized Extended Renewal Applicants as
    distinct from first-time, initial applicants, defendants’ January 4, 2021, status report in this case
    noted that data on the number of “DACA - Initial” requests “may include some I821D renewal
    requests where the requestor’s previous DACA had expired more than 1 year ago or the previous
    DACA was terminated.” See Ex. A to Defs.’ Status Rep. at n.6, Batalla Vidal (Jan. 4, 2021), ECF
    No. 361-1. Defendants explained that “[s]ystem limitations prevent USCIS from being able to
    segregate such DACA requests categorized as ‘initials’ from those that were filed by individuals
    seeking DACA for the first-time.” Id. In other words, although USCIS’s system categorized
    Extended Renewal Applicants and First-Time Applicants together as “initial” requests, USCIS
    recognized the distinction between these two groups of applicants.
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                                              CONCLUSION

             The New York plaintiffs agree that this Court has authority to modify its December 4, 2020,

    order, including by ordering defendants to take actions that are permitted by the terms of the Texas

    injunction such as the taking and processing of biometrics for the 80,000 First-Time Applicants.

    The New York plaintiffs further agree that defendants may have authority to provide other forms of

    relief to First-Time Applicants and Extended Renewal Applicants and ask that this Court order

    defendants to participate in mediation to determine what relief defendants can provide consistent

    with the terms of the Texas injunction during the pendency of the Texas appeal.

    Dated:      New York, New York
                May 20, 2022

                                                          Respectfully submitted,

                                                          LETITIA JAMES
                                                           Attorney General
                                                           State of New York
                                                          Attorney for State Plaintiffs


                                                  By:     /s/ Ester Murdukhayeva
                                                          ESTER MURDUKHAYEVA
                                                          Assistant Deputy Solicitor General

    BARBARA D. UNDERWOOD                                  28 Liberty Street
     Solicitor General                                    New York, NY 10005
    ESTER MURDUKHAYEVA                                    (212) 416-6279
     Assistant Deputy Solicitor General
    LOUISA IRVING                                         Counsel for Plaintiffs New York,
     Assistant Attorney General                           Massachusetts, Washington, Colorado,
    GRACE X. ZHOU                                         Connecticut, Delaware, Hawaii, Illinois,
     Assistant Solicitor General                          Iowa, New Mexico, North Carolina, Oregon,
            of Counsel                                    Pennsylvania, Rhode Island, and Vermont,
                                                          and the District of Columbia.




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                                    CERTIFICATE OF SERVICE

    I hereby certify that on May 20, 2022, a true and correct copy of the New York plaintiffs’
    Submission In Support of Batalla Vidal Plaintiffs’ Motion for Modification was served
    electronically by email to counsel for Batalla Vidal plaintiffs and counsel for defendants at the
    following email addresses:

    Counsel for Batalla Vidal plaintiffs:
    Marisol Orihuela, marisol.orihuela@yale.edu
    Michael Wishnie, michael.wishnie@yale.edu
    Muneer Ahmad, muneer.ahmad@yale.edu
    Araceli Martinez-Olguin, martinez-olguin@nilc.org
    Jessica Hanson, hanson@nilc.org
    Jessica Young, jessica.young@maketheroadny.org
    Karen C. Tumlin, karen.tumlin@justiceactioncenter.org
    Paige Austin, paige.austin@maketheroadny.org
    Vanessa L. Dell, vanessa.dell@maketheroadny.org
    Alexia R. Schapira, alexia.schapira@maketheroadny.org
    batallavidal_lso@mailman.yale.edu
    batalla@maketheroadny.org
    batalla@nilc.org
    harold.solis@maketheroadny.org

    Counsel for defendants:
    Cormac Early, Cormac.A.Early@usdoj.gov
    Stephen Pezzi, Stephen.Pezzi@usdoj.gov
    Rachael Westmoreland, Rachael.Westmoreland@usdoj.gov
    Brad Rosenberg, Brad.Rosenberg@usdoj.gov
    Joseph Marutollo, Joseph.Marutollo@usdoj.gov
    Scott Dunn, Scott.Dunn@usdoj.gov


                                                        /s/ Grace X. Zhou
                                                        GRACE X. ZHOU
                                                        Assistant Solicitor General
                                                        Office of the New York Attorney General
                                                        28 Liberty St, 23rd Fl.
                                                        (212) 416-6160
                                                        grace.zhou@ag.ny.gov
